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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - x

TRAVELERS CASUALTY AND SURETY COMPANY
OF AMERICA,
                                                       1:14-cv-576-FPG
                           Plaintiff,

against –                                              NOTICE OF APPEAL

DIPIZIO CONSTRUCTION COMPANY, INC.,
BOEHMER TRANSPORTATION CORP.,
GREAT LAKES CONCRETE PRODUCTS, LLC,
BERNARD DIPIZIO, LAURICE BOEHMER,
ROSANNE DIPIZIO, Individually and as Trustee
of BERNARD DIPIZIO FAMILY TRUST Under Trust
Agreement Dated October 12, 2000, DANIEL F.
DIPIZIO, as Trustee of BERNARD DIPIZIO FAMILY
TRUST Under Trust Agreement Dated October 12,
2000, STRADTMAN PARK, LLC and RICHARD P.
BOEHMER as Trustee of L. BOEHMER FAMILY TRUST
Under Agreement Dated December 14, 2012, and
CASTLE & MOSEY, L.P., a Purported Mortgagee
of Certain Real Property,

                         Defendants.
- - - - - - - - - - - - - - - - - - - x


    PLEASE TAKE NOTICE, that Defendants-Appellants, Dipizio

Construction Company, Inc., et al., in the above-named case,

hereby appeal to the United States Court of Appeals for the

Second Circuit, from the Decision and Order annexed hereto as

“Exhibit 1”, issued by the Honorable Frank P. Geraci, Jr.,

Chief Judge of the Unites States District Court, on April 16,

2017 (the “Order”), and entered in the Office of the Erie

County Clerk on April 17, 2018.

    I HEREBY CERTIFY that I have filed this notice with the

Court’s cm/ecf system, which will notify all counsel of

record.
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DATED:     May 15, 2018

                              LAW OFFICES OF DANIEL W. ISAACS, PLLC


                              By:       /s/ Daniel W. Isaacs
                                        Daniel W. Isaacs, Esq.

                              Attorneys for Defendants DiPizio
                              Construction Company, Inc., Boehmer
                              Transportation Corp., Great Lakes
                              Concrete Products, LLC, Bernard
                              Dipizio, Laurice Boehmer, Rosanne
                              Dipizio, Individually and as
                              Trustee of Bernard Dipizio Family
                              Trust, Daniel F. Dipizio, as
                              Trustee Of Bernard Dipizio Family
                              Trust, Stradtman Park, LLC and
                              Richard P. Boehmer as Trustee of L.
                              Boehmer Family Trust,

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